                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

TREVOR SLOAN, JOSEPH BLEIBERG,
ARYEH LOUIS ROTHBERGER,
PATRICK COMMERFORD, KEVIN
FARR, ELMER ORPILLA, KEITH                         Case No.: 1:22-cv-07174
LAPATING, and SAGAR DESAI, on behalf
of themselves and all others similarly situated,   Honorable Sara L. Ellis

               Plaintiffs,

               v.

ANKER INNOVATIONS LIMITED,
FANTASIA TRADING LLC, and POWER
MOBILE LIFE LLC,

               Defendants.


 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
   MOTION TO DISMISS CONSOLIDATED CLASS ACTION COMPLAINT
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                                    I.   INTRODUCTION

       Plaintiffs are purchasers of Defendants Anker Innovations Limited (“Anker Innovations”),

Fantasia Trading LLC (“Fantasia”) and Power Mobile Life LLC’s (“Power Mobile,” and, together

with Anker Innovations and Fantasia, “Defendants”) “eufy” branded home video security cameras

(the “Camera Products”).1 Defendants touted that their Camera Products, which could differentiate

between residents and visitors using facial-recognition technology, saved all video recordings and

conducted all facial recognition locally (meaning on equipment located with and controlled by

consumers). Indeed, Defendants emphasized that Anker Camera Products were different from

competitors’ products because (i) “your recorded footage will be kept private. Stored locally. With

military-grade encryption. And transmitted to you, and only you,” (ii) “we’re taking every step

imaginable to ensure that your data remains private, with you,” (iii) “[Y]our private data never

leaves the safety of your home, and is accessible by you alone,” and (iv) “There is no online link

available to any video.” Although Defendants repeated the above privacy and security promises

to consumers on the Camera Products’ packaging, Anker’s website, Amazon.com, and Google and

Apple “app stores”—in the hopes that consumers would choose Anker’s Camera Products over

products from competitors like Google—none of these statements were true. In fact, later after

initially denying their falsity, Defendants ultimately admitted these representations were untrue.

       Plaintiffs and other consumers reviewed Anker’s false and misleading marketing

statements, reasonably relied on them when purchasing the Camera Products, and did not receive

the products that they were promised. Moreover, Defendants uploaded Plaintiffs’ and other

individuals’ biometric information to third-party servers without authorization. Accordingly,

Plaintiffs bring this class action to recover restitution and damages, and for injunctive relief on


  1
    “Camera Products” collectively refers to eufycam, Video Smart Lock, SoloCam, Floodlight Cam,
Video Doorbell, and Solo Indoorcam lines of home security cameras. ¶ 1.

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behalf of a nationwide class and/or classes of consumers in Illinois, New York, Massachusetts,

and Florida. Plaintiffs allege that Defendants violated the Illinois Consumer Fraud and Deceptive

Trade Practices Act (“ICFA”), 815 ILCS 505/1, the New York Deceptive Acts and Practices Law,

Gen. Bus. (“NY GBL”), §§ 349 & 350, the Federal Wiretap Act (“Wiretap Act”), 8 U.S.C. § 2510,

the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, the Massachusetts Consumer

Protection Law (“MCPL”), Mass. G. L. 93A, and the Florida Deceptive and Unfair Trade Practices

Act (“FDUTPA”), Fla. Stat. § 501.201, and were unjustly enriched.

        Since Defendants have admitted that: (1) they made inaccurate statements about the

Camera Products’ privacy and security features, and (2) and uploaded biometric data to third

parties without authorization, they cannot seriously dispute that, as alleged in Plaintiffs’

Complaint,2 they violated the above privacy and consumer protection statutes and were unjustly

enriched. Nevertheless, Defendants’ Motion to Dismiss the Complaint 3 raises a variety of pedantic

quibbles with the Complaint’s language, including that (i) Anker could not have violated the

Wiretap Act because it was a “party” to communications meant solely for Plaintiffs and did not

“intercept” those communications within the meaning of the Act, (ii) biological identifying

information is ostensibly not “biometric data” under BIPA, (iii) Defendants’ admittedly false

statements to consumers are not deceptive acts or practices under ICFA, NY GBL, FDUTPA and

MCPL, and (iv) alleging wrongful acts by all Defendants is improper under Rule 8 of the Federal

Rules of Civil Procedure, despite iron-clad black letter law to the contrary. As set forth below,

these and other contentions are meritless, and the Court should deny Defendants’ Motion.


   2
     References to the “Complaint” are to Plaintiffs’ Consolidated Class Action Complaint. ECF No. 31.
Citations to “¶ __” or “¶¶ __” are to paragraphs of the Complaint. Capitalized terms not defined herein shall
have the meanings set forth in the Complaint. For ease of reading, all emphasis is added and all internal
quotations and citations in case citations are omitted unless otherwise indicated.
   3
    References to the “Motion” or “Mot.” are to Defendants’ Memorandum in Support of Motion to
Dismiss Consolidated Class Action Complaint. ECF No. 45-1.

                                                     2
                             II.     FACTUAL BACKGROUND

        Anker markets, distributes, and sells its “eufy” branded security products, including the

Camera Products, throughout the United States. ¶ 27. Consumers can purchase Camera Products

online directly through Anker or another online retailer or at brick-and-mortar stores. Id. The

Camera Products allow consumers to view live and recorded video of within and around their homes

and automatically receive notifications via the eufy Security smartphone application (the “eufy

App”), which users must install by providing email addresses and other personally identifiable

information. ¶¶ 27, 29. The Camera Products can differentiate between known individuals and

strangers by comparing details about face geometry against data stored in a database. ¶ 28.

A.      Defendants Misrepresent the Products’ Privacy and Security Features

        Facial recognition presents substantial consumer privacy concerns since, among other

things, an individual’s face can be used to open an app, program or cellular phone, and, unlike a

password, a face template cannot be changed. ¶ 39. Knowing that privacy and security were

essential to consumers, Anker designed and conducted a long-term marketing campaign touting the

supposed privacy and security features of the Camera Products. ¶ 31.

        For example, each Camera Product label stated that “Your Privacy is something that we

value as much as you do,” “we’re taking every step imaginable to ensure that your data remains

private, with you,” “[w]hether it’s your newborn crying for mom, or your victory dance after a

game, your recorded footage will be kept private,” data is “[s]tored locally” “[w]ith military-grade

encryption,” and “transmitted to you, and only you.” ¶ 32. The label further warranted that “[a]ll

your footage is securely stored locally[,] [e]nsuring the videos you record are for you and only you”

and the Products have “Military-Grade AES-256 data encryption.” Id. Anker’s website repeated

substantively identical promises to consumers in a “Privacy Commitment,” which further warranted

that “[t]here is no online link available to any video.” ¶ 33. The website also included a “privacy


                                                  3
policy” that did not disclose that Camera Products collected or stored video and facial recognition

information. ¶ 34. In addition, in the Google Play and Apple App stores Defendants represented

that “[n]o data [is] shared with third parties.” ¶ 36. Consumers purchased the Camera Products in

reliance on these and other statements about Anker’s privacy and security features and either would

have paid less or not purchased the products at all but for those representations. ¶ 38.

        These representations, however, were false. On November 23, 2022, security researcher

Paul Moore posted a string of tweets and videos, demonstrating that the Camera Products were

uploading name-tagged thumbnail images, i.e., biometric information, to Anker’s Amazon Web

Services (“AWS”) hosted cloud storage without encryption, and that the products’ existing

encryption was very weak and not “Military-Grade AES-256.” ¶¶ 42-43. One day later, a security

firm disclosed that it had found a similar transfer of thumbnails and the presence of weak encryption

keys. ¶ 44. Technology media outlet The Verge reported that it “repeatedly watched live footage

from two of our own eufy cameras . . . proving that Anker has a way to bypass encryption and

access these supposedly secure cameras through the cloud.” ¶ 45.

B.      Defendants Are Forced to Admit That the Camera Products Transmitted Images
        and Biometric Information to Cloud Storage

        Defendants eventually admitted that they were aware that their cameras transmitted images

and biometric information to their AWS-hosted cloud storage. ¶ 55. In an email to The Verge, a

eufy “Customer Service Engineer specialized in safety and privacy” wrote that “the app needs to

communicate with the cloud server in real-time,” i.e., transmit images to cloud storage and use

cloud-based facial recognition technology to compare images, and claimed to be developing a new

product that would function differently. Id. Defendants issued a statement on November 29, 2022

conceding that thumbnails of videos are transmitted to and hosted on a cloud server maintained by

a third party, namely AWS. ¶ 56. Defendants also said they were “revising the push notifications



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language in the eufy App to clearly detail that push notification with thumbnails require preview

images that will be temporarily stored in the cloud,” and that they “will be more clear about the use

of cloud for push notifications in our consumer-facing marketing materials.” Id.

        On January 31, 2023, The Verge revealed that “Anker has finally admitted its eufy security

cameras are not natively end-to-end encrypted—they can and did produce unencrypted video

streams for eufy’s web portal, like the ones we accessed from across the United States using an

ordinary media player.” ¶¶ 64-65. While Defendants assured The Verge that the Camera Products

finally had end-to-end encryption for “all videos (live and recorded) shared between the user’s

device to the eufy Security Web portal or the eufy Security App,” the damage was done. See ¶ 65.

                      III.   STANDARD ON MOTION TO DISMISS

        On a motion to dismiss, the Court “accept[s] all well-pleaded facts as true and draw[s] all

reasonable inferences in the plaintiff’s favor. White v. United Airlines, Inc., 987 F.3d 616, 620 (7th

Cir. 2021). In considering a motion to dismiss, courts merely test the sufficiency of the allegations.

Hughes v. Huron Consulting Grp., Inc., 733 F. Supp. 2d 943, 946 (N.D. Ill. 2010). A motion to

dismiss may not be used to dispute the well-pleaded allegations of the complaint, assess credibility,

or evaluate evidence. See, e.g., City of Sterling Heights Gen. Emps. Ret. Sys. v. Hospira, Inc., 2013

WL 566805, at *37-38 (N.D. Ill. Feb. 13, 2013).

                                     IV.     ARGUMENT

A.      Plaintiffs Have Alleged a Valid Wiretap Act Claim

        The Wiretap Act prohibits “intentionally intercept[ing], endeavor[ing] to intercept, or

procur[ing] any other person to intercept or endeavor to intercept, any wire, oral, or electronic

communications[.]” 18 U.S.C. § 2511(1)(a). The Seventh Circuit has not decided whether a

contemporaneous interception is required for wiretap claims involving electronic communications.

It has, however, sustained claims regarding communications that met the “contemporaneous”


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standard. Epstein v. Epstein, 843 F.3d 1147, 1149-51 (7th Cir. 2016). Parties to a communication

or parties who received prior consent are exempt from 2511(1)(a). 18 U.S.C. § 2511(2)(d).

        1.      Defendants’ Interception Was “Contemporaneous”

        Although the Seventh Circuit has not adopted the “contemporaneous” requirement, even if

the requirement applied, Plaintiffs sufficiently allege that Defendants’ interceptions were

contemporaneous with Plaintiffs’ communications. Camera Products produce notifications when

alerting consumers, including Plaintiffs, of activity. Plaintiffs understood that notifications were

produced when Camera Products “captured movement[,]” or put differently, while in the midst of

recording “activity detected by the cameras, including thumbnail images when a person is detected

in the cameras’ field of view or when a person presses the doorbell.” ¶ 27, see also ¶¶ 14-18.

Rather than apply a strict definition of “contemporaneous,” the Seventh Circuit held that the

contemporaneous component of the Wiretap Act is satisfied where an interception occurs “within

a second” after the communication’s arrival. U.S. v. Szymuszkiewicz, 622 F.3d 701, 705-06 (7th

Cir. 2010) (rejecting that “contemporaneous” in the Wiretap Act required that a communication

be “in flight”). This is true where interception occurs at a routing point for the destination rather

than the destination. See id. (“[the computer] was effectively acting as just another router . . . [and]

the Wiretap Act applies to messages that reside briefly in the memory of . . . routers”).

        In this case, the interception occurred not only when Defendants received the thumbnail

and biometric information, but also when the data was copied. See Epstein, 843 F.3d at 1150

(reversing district court’s dismissal of wiretap act claims where the “judge misunderstood when

an interception occurs”). For the biometric data, Defendants admit that owner information,

including facial identification information, was tied to some snapshots and shared with

Defendants’ Amazon-hosted servers before finishing the transmission of that data to other Camera

Products on users’ wi-fi. ¶¶ 55-59.


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       This case is distinct from those cited by Defendants. See Mot. at 10-11 (citing In re Vizio,

Inc., 238 F. Supp. 3d 1204, 1228 (C.D. Cal. March 2, 2017); Rosenow v. Facebook, Inc., 2020 WL

1984062 at *7 (S.D. Cal. April 27, 2020)). In Vizio, the plaintiffs relied on conclusory allegations

that communications were intercepted during their transmission and an “inscrutable graphic with

no textual explanation” suggested that data was sent to defendant “significantly after the data

arrive[d] at [plaintiffs’] Smart TVs.” 238 F. Supp. 3d at 1228. Similarly, the Rosenow plaintiffs

only alleged that defendants “knowingly and purposefully searched [p]laintiff’s accounts,” but did

not allege any facts supporting an inference of data interception. See 2020 WL 1984062, at *7.

       Here, Plaintiffs allege that Defendants intercepted biometric data by capturing still images

of users’ faces and facial recognition data (¶¶ 6, 39-44, 53-55) and then sent that data to

Defendants’ Amazon servers. ¶¶ 42-44. Defendants have acknowledged that these allegations are

true. Indeed, Anker’s “Customer Service Engineer specialized in safety and privacy” claimed it

was necessary to intercept images being produced by the Camera Products “in real-time” to send

notifications to consumers. See ¶ 55. Accordingly, because the intended recipient of the

notification (the user) is receiving the product of an intercepted communication, the interception

must, under Seventh Circuit precedent, be occurring contemporaneously with its transmission.

       2.      Anker Was Not a Party to Plaintiffs’ Communications

       While the Wiretap Act prohibits intentionally intercepting communications, parties to a

communication or parties with prior consent are exempt from Section 2511(1)(a). 18 U.S.C. §

2511(2)(d). “The question here [turns on] . . . who the intended recipient of the communication

was.” Kurowski v. Rush Sys. For Health, 2023 WL 2349606, at *4 (N.D. Ill. March 2, 2023).

       The Seventh Circuit has held that the duplicating and re-routing of communications

constitutes a violation of the Wiretap Act. See Szymuszkiewicz, 622 F.3d at 706. In Szymuszkiewicz,

the Seventh Circuit affirmed a Wiretap Act conviction, noting “the ‘interception’ of a


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communication sent in packets must be done by programming a computer to copy the contents it

sends. . . which was exactly what [defendant] told [victim’s] computer to do.” 622 F.3d at 706. To

reach this conclusion, the Seventh Circuit necessarily held that a third-party which surreptitiously

duplicates and reroutes an internet communication is not a “party” to a communication.

        The outcome in Szymuszkiewicz contrasts with the Third Circuit’s decision in In re Google

Inc., which concluded that any amount of fraud and deceit, including duplicating and rerouting,

did not vitiate the party exception of 2511(2)(d). 806 F.3d 125, 143-44 (3d Cir. 2015). Other

Circuit courts have rejected the Third Circuit’s decision and agreed with Szymuszkiewicz as well.

See e.g., In re Facebook Inc. Internet Tracking Litig., 956 F.3d 589, 607-08 (9th Cir. 2020); see

also In re Pharmatrak, Inc. Privacy Litig., 329 F.3d 9, 20-21 (1st Cir. 2003).

        In the face of this precedent, Defendants still attempt to apply the In re Google’s reasoning

within the Seventh Circuit. See Mot. at 8. But Plaintiffs here were led to believe that Anker’s

Camera Products recorded and stored videos and biometric data locally—features Defendants

touted to differentiate the Camera Products from competitors’ (¶¶ 2-4)—and communications

through the eufy App were, therefore, expected to occur between Plaintiffs’ own devices (i.e.,

between Plaintiffs’ Camera Products and Plaintiffs’ phones). ¶ 10; see Luis v. Zang, 833 F.3d 619,

630-31 (6th Cir. 2016) (marketing materials supported inference that defendant violated Wiretap

act).

        Further, Pharmatrak supports finding that Anker was not a party to Plaintiffs’

communications. There, the defendant argued that the court should infer that clients and their users

had consented to defendant’s interceptions. 329 F.3d at 19-21. But the court concluded that, where

clients insisted that users’ data not be collected and received assurances data would not be

collected, “[defendant] ma[de] a frivolous argument” to suggest that clients and users somehow

had notice of and impliedly consented to defendants’ interception of plaintiffs’ communications.

                                                 8
Id. at 21. Applying the defendant’s theory that consent was obtained by “simply buying

[defendant’s] product” . . . “every online communication would provide consent to interception by

a third party.”

        Plaintiffs’ use of and reliance on the marketing for the Camera Products also is

distinguishable from Zak v. Bose Corp., where the plaintiff sued a smart device maker because the

app captured music listening information while requesting media from music streaming services.

2019 WL 1437909, at *1-2 (N.D. Ill. March 31, 2019). While the plaintiff in Zak admitted the app

was an intended part of the communication, he argued that the corporation was not. Id. at *3 n.5.

The court did not dismiss plaintiff’s theory of separating the app and corporation, but rather noted

that plaintiff did not “point to any facts alleged to support such a distinction.” Id.

        Here, Plaintiffs allege facts that support the distinction between the app and the corporate

entity. E.g., ¶ 4 (“your recorded footage will be kept private. Stored locally. . . [a]nd transmitted

to you, and only you”). Further, to the extent Defendants’ position is that Anker’s eufy App

necessarily made Anker a party to communications, it would correspondingly render Anker’s

marketing that footage would be “transmitted to [the user], and only [the user]” false. See ¶ 4.

Anker’s response to the backlash after news broke of its data handling practices reinforces this

point. If Anker had believed that the eufy App was a stand-in for the corporate entity, then Camera

Products users would have and should have been put on notice of Anker’s access to and collection

of thumbnails through simple use of the App and Anker would not have needed to update its

notification language. See ¶ 58 (Anker committed to “revising the push notifications language in

the eufy App” to disclose cloud storage). Clearly, both users and Anker, at least as of January

2023, believed the App and corporate entity were distinct.

        Plaintiffs thus sufficiently allege that Defendants intercepted Plaintiffs’ communications

(with or without the contemporaneous requirement), and because Anker was not a party to

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Plaintiffs’ communications, Plaintiffs have stated a Wiretap Act claim against Defendants.

B.       Plaintiffs’ BIPA Claims Are Adequately Plead

         1.     Plaintiffs Sufficiently Alleged That Defendants’ Collected and Captured
                Biometric Information and Identifier

         Defendants assert that Plaintiffs’ claims that they “systematically collected, used, and

stored” biometric data in violation of BIPA are “conclusory” and lack factual support. To the

contrary, the Complaint more sufficiently alleges facts demonstrating that biometric identifiers or

information are being collected, captured, or received. 740 ILCS 14/15; Stauffer v. Innovative

Heights Fairview Heights, LLC, 480 F. Supp. 3d 888, 907 (S.D. Ill. 2020) (To allege a violation

of BIPA, “all [the plaintiff] must do is allege that Defendant collected, captured, purchased,

received, or obtained her fingerprints without complying with BIPA’s requirements.”). “Biometric

information” is defined as “any information, regardless of how it is captured, converted, stored,

or shared, based on an individual’s biometric identifier used to identify an individual.” 740 ILCS

14/10 (emphasis added). And “biometric identifiers” includes face geometry scans. Id. Thus, what

matters is whether Plaintiffs alleged that Defendants collect any information based on an

individual’s face geometry scans that can be used to identify an individual.

         Plaintiffs specifically allege that when the Camera Products recognize a face, they

surreptitiously route the name, picture, and identification number associated with that face through

Defendants’ web servers before delivering the information to the user. ¶¶ 54-58. Plaintiffs further

allege that Camera Products linked to separate accounts were able to identify a face with the same

unique ID, meaning that Defendants were “not only storing facial recognition data in the cloud,

but also sharing that back-end information between accounts.” ¶ 6. 4 Defendants do not explain


     4
     Indeed, Defendants’ own press release, admits that at least one product did “send[ ] a user image from
the eufy App to [Defendant’s] devices [ ] to give the local facial recognition software a baseline to run its
algorithm.” Mot. Ex. B at 5. Accordingly, Defendants’ assertation that Plaintiffs cannot support their


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how this does not constitute the “collection” of “biometric information” under BIPA. This Court

has already held that the collection of photographs can represent “biometric information” when

they are used to identify individuals. See Wilk v. Brainshark, Inc., 2022 WL 4482842, at *5 (N.D.

Ill. Sept. 27, 2022). And despite Defendants’ protestations otherwise, even general allegations

suffice to survive a motion to dismiss. See Johnson v. NCR Corp., 2023 WL 1779774, at *2 (N.D.

Ill. Feb. 6, 2023) (“Although NCR wants greater specificity at the pleading stage, Rule 9(b) does

not apply to [ ] BIPA allegations”); Wilk, 2022 WL 4482842, at *5 (that defendant “obtained access

to Plaintiff’s uploaded video . . . used its technology to scan Plaintiff’s facial geometry . . . and

then developed reports” sufficiently alleged possession of biometric information).

        Nevertheless, Defendants argue that Plaintiffs’ allegations are “undermined” by the news

articles on which the Complaint relies. Mot. at 12. This is disingenuous at best. Defendants cite an

article from The Verge dated January 31, 2023, to suggest that Anker’s cameras do not collect

biometric information and that all “biometric details never leave users’ devices.” Id. citing Ex. B.

Yet, the section of the article cited is a statement from Anker Innovations’ Global Head of

Communications. See Mot. Ex. B. at ECF pp. 5, 9-10. Put simply, Defendants cite their own self-

serving press release to challenge the Complaint.5 But there is good reason to take Defendants’

press statement with a grain of salt. Defendants have admitted to making false statements and even

the article stated that the company’s press statements should not be trusted. Id., Ex. B. at ECF pp.

2-3. If anything, the actual editorial portion of this article discredits Defendants’ statement.

Regardless, when evaluating a motion under Rule 12(b)(6), the Court may not weigh evidence, but



allegation that the BionicMind system purportedly performs facial recognition by “comparing the resulting
‘face template’ . . . against the face templates stored in a database” is contradicted by Defendants’
statements. Mot. at 12-13.
   5
    It is not entirely clear that such self-serving hearsay (within hearsay) would be admissible at trial.
Accordingly, Defendants’ press statements should not be taken as gospel here.

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instead must accept the Complaint’s allegations as true. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). Under the appliable standard, Plaintiffs’ BIPA allegations are sufficiently pled.

        2.       BIPA Applies to the Putative National Class

        Defendants’ second argument against Plaintiffs’ BIPA claims is more limited. Defendants

do not contest that BIPA can be applied to the Illinois Plaintiffs and Class. Mot. at 14-15. Instead,

Defendants argue that the national BIPA claims must be dismissed. Id. Defendants misunderstand

the underlying law and allegations of the case. 6

        Defendants conveniently ignore the underlying basis for Plaintiffs’ national BIPA class.

Plaintiffs allege that Illinois law applies because Defendants agreed, through the Camera Products’

End User License Agreement (“EULA”), that “any claim, dispute, action, cause of action, issue,

or request for relief relating to this EULA, will be governed by the laws of Illinois, without giving

effect to any conflicts of laws.” ¶¶ 30, 120. Defendants do not claim that this agreement is invalid

or inapplicable, nor could they. “When the parties express that intent (such as through a governing

law provision), that express intent is generally recognized.” Smurfit Newsprint Corp. v. Se. Paper

Mfg., 368 F.3d 944, 949 (7th Cir. 2004).

        Defendants ignore the choice-of-law provision in its own EULA, instead citing inapposite

cases for the proposition that BIPA does not apply extraterritorially. Mot. at 14-15. For example,

Marsh v. CSL Plasma Inc., 503 F. Supp. 3d 677 (N.D. Ill. 2020), and Neals v. PAR Tech. Corp.,

419 F. Supp. 3d 1088 (N.D. Ill. 2019), are distinguishable because they did not involve a choice-


   6
     As a threshold matter, the determination of the locus of Plaintiffs’ BIPA claims for purposes of the
extraterritoriality inquiry “is a highly fact-based analysis that is generally inappropriate for the motion to
dismiss stage.” Vance v. Amazon.com, Inc., 525 F. Supp. 3d 1301, 1308 (W.D. Wash. 2021). “Accordingly,
the majority of courts in BIPA cases to consider the issue at this stage have denied the motion to dismiss,
opting instead to allow discovery for more information regarding the extent to which the alleged misconduct
occurred in Illinois.” Id. (collecting cases). Here, Defendants do not include any choice-of-law analysis,
which one would normally associate with a request to strike national class allegations, instead relying on
the generalized analysis from other cases. This is not enough to carry the day. See Clay v. CytoSport, Inc.,
2018 WL 4283032, at *16 (S.D. Cal. Sept. 7, 2018).

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of-law provision. Defendants’ citation to Avery v. State Farm Mutual Automobile Insurance Co.,

216 Ill. 2d 100 (2005), is also misplaced. Avery involved ICFA, which cannot be based on contract

claims, and thus a contractual choice-of-law clause does not govern its application. See Haught v.

Motorola Mobility, Inc., 2012 WL 3643831, at *4 (N.D. Ill. Aug. 23, 2012).7 Additionally, as

Avery recognized, one of the elements of ICFA is that the deceptive trade practices occur

“primarily and substantially within Illinois;” thus, even applying Illinois law, there must be some

nexus between the defendant’s actions and the state. Id.8; Avery, 216 Ill. 2d at 181-87.

        These same considerations are not present in BIPA. Nothing in BIPA suggests that its

private right of action is somehow incompatible with contractual claims. 740 ILCS 14/15(b).

Instead, BIPA requires that parties execute some written agreement regarding the use of biometric

identifiers or information. Id. Additionally, BIPA does not explicitly require collection of

biometric information within the state or have any express geographical limits (unlike ICFA).

Compare 740 ILCS 14/20 with 815 ILCS 505/1(f); see Rivera v. Google Inc., 238 F. Supp. 3d

1088, 1102 (N.D. Ill. 2017) (“in BIPA face scan context, even if the scanning takes place outside

of Illinois, that would not necessarily be dispositive.”). Instead, courts have “concluded that where

a state law includes no express geographical limitation, courts may apply it to a contract that,

because of a choice of law provision, falls under that state’s law.” Harlow v. Sprint Nextel Corp.,

574 F. Supp. 2d 1224, 1226 (D. Kan. 2008); Taylor v. E. Connection Operating, Inc., 465 Mass.

191, 199 (2013). And this proposition has been cited with approval in Illinois state courts. Int'l


   7
     Citing Int’l Profit Assocs., Inc. v. Linus Alarm Corp., 2012 WL 2366404, at *7 (Ill. App. Ct. June 20,
2012) (“Particularly . . . where an action under the Act must be based outside of contract, it does not make
sense to have a contractual choice-of-law provision automatically prevail over a statutory territorial
limitation.”).
   8
     Citing Shaw v. Hyatt Int’l Corp., 2005 WL 3088438, at *3 (N.D. Ill. Nov. 15, 2005) (where choice-of-
law provision on defendant's website specified Illinois law, the existence of such a clause has no impact on
whether the ICFA applies in the first instance because the extraterritorial application of the ICFA is limited
to deceptive trade practices occurring “primarily and substantially within Illinois).

                                                     13
Profit Assocs., Inc. v. Linus Alarm Corp., 2012 IL App (2d) 110958, ¶ 20 (2012) (citing Gravquick

A/S v. Trimble Navigation Int’l Ltd., 323 F.3d 1219, 1223 (9th Cir. 2003)).

          BIPA may be applied to this dispute through Defendants’ choice-of-law provision. To hold

otherwise would be fundamentally unfair, as it would allow the drafting party to demand that an

agreement be governed by the law of a particular state, only to proclaim that the presumption

against extraterritoriality precludes the application of the law when it is no longer favorable.

C.        Plaintiffs State Claims for Violations of State Consumer Protection Statutes

          1.     Plaintiffs Have Pled Deceptive Conduct

          All consumer protection statutes at issue—ICFA, FDUTPA, MCPL, and NY GBL—apply

an objective standard to the question of whether a defendant’s conduct or statements are materially

misleading. Each asks, that is, whether the defendant’s conduct or statements would deceive a

reasonable consumer under the circumstances presented. 9 What is “reasonable” is generally a

question of fact to be resolved by a jury.10 Regardless, Defendants seek dismissal on the ground

that Plaintiffs have failed to plead violations of the consumer protection statutes as a matter of law.


     9
     See, e.g., Carriuolo v. Gen. Motors Co., 823 F.3d 977, 984 (11th Cir. 2016) (“Under Florida law, an
objective test is employed in determining whether the practice was likely to deceive a consumer acting
reasonably.”); Campbell v. Drink Daily Greens, LLC, 2018 WL 4259978, at *3 (E.D.N.Y. Sept. 4, 2018)
(NY GBL §§ 349 and 350 ask “[w]hether a representation or an omission, the deceptive practice must be
likely to mislead a reasonable consumer acting reasonably under the circumstances”); Ash v. PSP Distrib.,
LLC, 2023 WL 3939189, at *4 (Ill. App. June 12, 2023) (“Courts view the elements of a Consumer Fraud
Act claim under an objective standard.”); Aspinall v. Philip Morris Cos., Inc., 813 N.E.2d 476, 486 (Mass.
2004) (“[A] practice is ‘deceptive’ . . . if it could reasonably be found to have caused a person to act
differently from the way he [or she] otherwise would have acted.”).
     10
      See, e.g., Kelly v. Beliv LLC, 2022 WL 16836985, at *4 (S.D.N.Y. Nov. 9, 2022) (only in “‘rare
situation[s] [is] granting a motion to dismiss . . . appropriate’ with respect to the issue of whether a
reasonable consumer would be misled by representations about a product”); Zurliene v. Dreyer’s Grand
Ice Cream, Inc., 591 F. Supp. 3d 362, 364 (S.D. Ill. 2022) (“[H]ow reasonable consumers would interpret
an ambiguous . . . label is typically a question of fact that should not be decided on the pleadings.”) (quoting
Bell v. Publix Super Markets, Inc., 982 F.3d 468, 478 (7th Cir. 2020)); S. Broward Hosp. Dist. v. ELAP
Servs., LLC, 2020 WL 7074645, at *4 (S.D. Fla. Dec. 3, 2020) (“[W]hether a practice is “deceptive or
unfair” is determined by an objective analysis, and ordinarily is a question of fact for the jury to
determine.”); Cremaldi v. Wells Fargo Home Mortg., 2015 WL 13849395, at *5 (D. Mass. Mar. 31, 2015)
(“[W]hether a particular set of acts in their factual setting is unfair or deceptive is a question of fact[.]”).

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See Mot. at 15-23. Their efforts fail because (1) the privacy representations Defendants categorize

as “puffery” are actionable misleading statements; (2) the remaining statements Plaintiffs

challenge would deceive the reasonable consumer; (3) Defendants fail to address certain material

misrepresentations alleged; and (4) Plaintiffs have pled materially misleading omissions.

       2.      The “Privacy” Statements Are Not Non-Actionable Puffery

       Defendants contend that five statements challenged in the Complaint constitute non-

actionable puffery. New York, Illinois, Massachusetts, and Florida law define “puffery” as

“subjective claims . . . which cannot be proven either true or false” or “exaggerated, blustering,

and boasting statements that are objective—and therefore technically provable—but upon which

no reasonable buyer would [rely].” Int’l Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 59 (2d

Cir. 2022); see Evolve Biosys., Inc. v. Abbott Lab’ys, 2022 WL 846900, at *5 (N.D. Ill. Mar. 22,

2022) (“[C]ommercial statements are not puffery . . . if they make ‘objective claims’ that describe

specific or absolute characteristics of a product capable of testing” or “if reasonable consumers

could rely on them in their purchasing decisions”); Thompson v. Procter & Gamble Co., 2018 WL

5113052, at *2 (S.D. Fla. Oct. 19, 2018) (“[U]nder FDUTPA, courts in this district have looked to

whether the claims are specific and measurable, as opposed to vague and highly subjective.”);

Martin v. Mead Johnson Nutrition Co., 2010 WL 3928707, at *3 (D. Mass. Sept. 30, 2010)

(“Puffery” involves “outrageous generalized statements, not making any specific claims”).

       Critically, whether a statement constitutes “puffery” depends on context; statements

challenged as such are not reviewed in a vacuum. See, e.g., Avalanche IP, LLC v. FAM, LLC, 2022

WL 3597411, at *6 (D. Mass. Aug. 23, 2022); Evolve Biosys., 2022 WL 846900, at *5; Thompson,

2018 WL 5113052, at *2. The five representations Defendants cite are not “non-actionable

puffery” (see Mot. at 18) because they go to the heart of the promotion of the Camera Products.

Defendants sought to distinguish their products from their competitors’ products on the ground


                                                15
that the Camera Products prioritized data privacy. See ¶¶ 3, 31. Read in the context of the eufy

marketing campaign, Defendants intended all five of these statements to induce consumers into

believing that eufy products would provide superior protection for their data and videos. See ¶¶

31, 38. This alone renders them actionable under the state consumer protection statutes at issue. 11

        Even were that not the case, at the very least, the last representation Defendants cite is,

standing alone, a concrete statement “specific enough to induce consumer reliance.” Evolve

Biosys., 2022 WL 846900, at *5. Plaintiffs’ allegations directly contradict Defendants’ assertion

that they took “every step imaginable” to ensure that consumer data would remain “private, with

you.” Mot. at 18. Plaintiffs allege, inter alia, that data collected by eufy products was sent to Anker

and to the Cloud and “was not protected using Military-Grade AES-256 data encryption,” as

represented, ¶¶ 41, 42, 44, 45; consumers were able to live-stream video footage from eufy camera

products because the streams were not encrypted, id. ¶¶ 45; and facial-recognition data was

uploaded and stored to Anker’s servers, id. ¶¶ 39, 53, 55, 56. If Plaintiffs prove any of these

allegations, they will have disproven Defendants’ assertion that they took “every step imaginable”

to ensure data privacy. This alone renders Defendants’ statement actionable. See, e.g., Thompson,

2018 WL 5113052, at *2 (“The Eleventh Circuit has found puffery where a representation was not

the sort of empirically verifiable statement that could be affirmatively disproven.”); Evolve Biosys.,

Inc., 2022 WL 846900, at *5 (commercial statements not puffery if they can be tested).




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  See, e.g., Evolve Biosys., 2022 WL 846900, at *6 (statements that infant probiotic products were “stable,”
“potent,” “high quality,” and made from a “unique blend” not puffery because “commercial statements do
not exist in a vacuum”); In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d
187, 247 (S.D.N.Y. 2019) (qualifiers such as “perfect” not “puffery” in context in which they were used);
Marty v. Anheuser-Busch Cos., LLC, 43 F. Supp. 3d 1333, 1342 (S.D. Fla. 2014) (representation that beer
was of “German Quality” not puffery read in conjunction with other representations and overall marketing
campaign); Washtenaw Cnty. Emps.’ Ret. Sys. v. Talbots, Inc., 2013 WL 5348569, at *30 (D. Mass. Sept.
23, 2013) (statements about “strong inventory management” not “inactionable puffery” where plaintiff was
experiencing “widespread inventory management difficulties”).

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       3.      Defendants’ Statements Regarding Storage and Streaming, Facial
               Recognition, and Encryption Could Deceive a Reasonable Consumer

       Defendants also contend that certain misrepresentations about storage and streaming, facial

recognition, and encryption are not misleading, arguing that Plaintiffs have only alleged facts that

demonstrate that Defendants’ representations are accurate. See Mot. at 19-21. Of course, “any

challenge based on the actual truth or falsity of the statements is not appropriately raised on a

motion to dismiss.” Keurig Coffee Antitrust Litig., 383 F. Supp. 3d at 247. Regardless, Defendants’

argument is belied by a simple comparison of their representations to Plaintiffs’ allegations:

 Defendants’ Representations                        Contradicting Allegations
       “Storage[:] You are in control of your             Videos could be streamed and viewed
  recordings. We have designed controls to           using a third-party player, ¶¶ 7, 45, 47, 64,
  ensure all videos are stored securely, in your     65.
  home, on your local storage, with cloud                  Thumbnails lifted from recorded
  storage available as an additional option.”        videos were stored on Anker’s AWS-hosted
       “[N]o data [is] shared with third            cloud storage. ¶¶ 42-44, 56, 57, 124.
  parties.” ¶ 36.                                          Defendants conceded that thumbnails
       “Whether it’s your newborn crying for        were sent to cloud server hosted by third
  mom, or your victory dance after a game,           party AWS. ¶¶ 56-58.
  your recorded footage will be kept private.              Camera Products did not use military-
  Stored locally. With military-grade                grade encryption. ¶¶ 42-45, 47, 54, 64-67.
  encryption. And transmitted to you, and                  Thumbnail images and name-tags
  only you.” ¶ 11.                                   were sent to cloud hosted by third party. ¶¶
       “On-Device AI[:] Our AI is built in to       41-45, 47, 56-58.
  your security devices. It analyzes recorded              “[D]ata associated with [consumers’]
  video locally without the need to send it to       Camera Products was being sent to Anker
  the cloud for analysis.” ¶ 33.                     and was not protected using Military-Grade
       The camera products use “Military-           AES-256 data encryption.” ¶ 41, see also
  Grade AES-256 data encryption.” ¶¶ 11, 32.         id. ¶¶ 42-45, 47, 54-58.
       “End-to-end Encryption[:] All                      “[A] very weak AES key was being
  recorded videos are encrypted from device          used to encrypt video footage, which could
  to phone—only you have the key to decrypt          be easily brute forced.” ¶¶ 42, 44.
  and access your videos via the eufy Security             “[T]he Camera Products were
  app.” ¶ 33                                         uploading name-tagged thumbnail images to
                                                     Anker’s AWS-hosted cloud storage, without
                                                     encryption.” ¶¶ 42-44, 56.
                                                           Recorded facial recognition
                                                     information was uploaded to Anker’s
                                                     servers without being adequately secured.
                                                     ¶ 53.


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        Defendants’ contention that these representations could not mislead a reasonable consumer

is further contradicted by the wealth of expert opinions that Defendants’ marketing and advertising

concealed the truth. Plaintiffs incorporate into the Complaint opinions by security experts and

national publications that Defendants’ representations about the Camera Products’ encryption

capabilities, local storage, and privacy protections were misleading at best. See ¶¶ 41-48. These

opinions compel the conclusion that Plaintiffs have plausibly alleged that a reasonable consumer

would also likely be misled. See, e.g., Zamber v. Am. Airlines, Inc., 282 F. Supp. 3d 1289, 1299

(S.D. Fla. 2017) (“If the statements are likely to mislead reasonable consumers, then it makes no

difference if the statements are technically or literally true.”); People ex rel. Spitzer v. H & R Block,

Inc., 16 Misc. 3d 1124(A), 847 N.Y.S.2d 903 (N.Y. Sup. Ct. 2007) (same).

        Defendants’ arguments to the contrary fail to persuade. Defendants contend that their

“storage and streaming” representations could not plausibly mislead because these statements “are

largely limited to recorded video footage,” while Plaintiffs’ allegations about storage and

streaming describe the transmission of live footage, thumbnails, and personal identifying

information to third-party sources. See Mot. at 19. Not so. The tenor of Defendants’ security

promises related to “data” generally. See ¶¶ 33, 36, 37. Even if “data” generally were not at issue,

it is for a jury to decide whether Defendants’ representations were “likely to mislead a reasonable

consumer.” Campbell, 2018 WL 4259978, at *3. It is also for a jury to decide whether a reasonable

consumer would interpret thumbnails pulled from videos to constitute “recorded video footage.”

See Bell, 982 F.3d at 483; Valcarcel v. Ahold U.S.A., Inc., 577 F. Supp. 3d 268, 280 (S.D.N.Y.

2021); Zamber, 282 F. Supp. 3d 1289, 1299 (S.D. Fla. 2017).

        Defendants attack Plaintiffs’ allegations about encryption on similar grounds, arguing that

their statements about “end-to-end” encryption applied only to recorded video and that they never

promised that “strong encryption was used for all data captured by the devices.” Mot. at 20.

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Defendants’ contention is only possible by ignoring their representation that the Camera Products

would protect consumers’ data with “military-grade encryption.” ¶¶ 4, 11, 13, 32, 42. Plaintiffs

allege that Defendants did not use “military grade encryption” to protect data, live video streams

or recorded video. See id. ¶¶ 7, 9, 10, 41-47, 54-58, 64-67. Regardless, neither the truth or falsity

of Defendants’ statements nor a reasonable consumers’ interpretation of the terms used in the

context presented is properly resolved on a motion to dismiss. See Section IV.B, supra; see also

Section IV.C.2, supra (addressing Defendants’ misrepresentations about facial recognition).

       4.      Defendants Fail to Address Six Misrepresentations Identified in the
               Complaint.

       Defendants fail to address at least six misrepresentations found in their packaging or

promotional materials. In addition to the misleading statements quoted in Defendants’ motion

(which Plaintiffs address below (Section IV.C.3, supra)), Defendants represented that consumers’

data “is always safe” (¶ 33), “There is no online link available to any video”(id.), “[A]pp might

collect only one type personal info—the user’s email address” (¶ 36), “[D]ata never leaves the

safety of your home, and is accessible by you alone” (¶ 33), “no one has access to your data but

you” (¶ 37), and video footage is “sent straight to your phone—and only you have the key” (¶ 48).

       Defendants cannot, on the pleadings, defend these representations as immaterial or

nondeceptive. To be sure, Plaintiffs allege that Defendants violated every one of these promises.

Plaintiffs allege, among other things, that Defendants collected consumer data from Plaintiffs and

uploaded this information to Defendants’ servers; security experts were able to access user video

footage using an online link; the eufy App collected personal data, including thumbnail images

and personally identifying information; and consumer data was uploaded to Defendants’ cloud

storage without encryption. See id. ¶¶ 42-67. These allegations alone warrant denial of Defendants’

Motion. See, e.g., Zurliene, 591 F. Supp. 3d at 364 (how reasonable consumer would interpret



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label is question of fact beyond pleadings); Section IV.C.1, supra (citing additional authority).

       5.      Plaintiffs Have Pled Material Misleading Omissions.

       Finally, Defendants contend that Plaintiffs have not pled deceptive omissions because they

have not plausibly alleged that (i) thumbnails and biometric information were stored on

Defendants’ cloud servers, (ii) such information was sent without encryption, or (iii) such

information was “subject to facial recognition off of their devices.” Mot. at 21. Plaintiffs dispose

of Defendants’ argument in Sections IV.A.1-IV.A.3 supra, e.g., Defendants concede that Plaintiffs

have alleged that thumbnails were sent to Anker’s cloud server, which was hosted by a third party;

and Plaintiffs have plausibly alleged that data and video streams were transmitted without

encryption and were accessible to third parties, including facial recognition and other personally

identifying information. See Sections IV.A.1, IV.B.1, supra.

       6.      Plaintiffs Have Plausibly Pled Causation

       Defendants argue that Plaintiffs have not pled causation under their respective state

consumer protection statutes with the particularity required by Rule 9(b). See Mot. at 21-23. Rule

9(b) does not apply to FDUTPA and NY GBL §§ 349 and 350 claims. See Pelman ex rel. Pelman

v. McDonald’s Corp., 396 F.3d 508, 511 (2d Cir. 2005) (section 349); Lewis v. Mercedes-Benz

USA, LLC, 530 F. Supp. 3d 1183, 1231 (S.D. Fla. 2021) (FDUTPA); Am. Dev. Grp., LLC v. Island

Robots of Fla., 2019 WL 5790265, at *10 (E.D.N.Y. Oct. 4, 2019) (section 350). In Massachusetts

and Illinois, Rule 9(b) applies to consumer protection claims sounding in fraud. See Timmins

Software Corp. v. EMC Corp., 502 F. Supp. 3d 595, 605 (D. Mass. 2020); Smith v. NVR, Inc., 2018

WL 6335051, at *2 (N.D. Ill. Dec. 5, 2018). Courts in Massachusetts and Illinois find that 9(b) is

satisfied where “the complaint is sufficiently particular to inform the defendants of the nature of

the claims against them, and those defendants are entirely capable of drafting an adequate

response.” Petri v. Gatlin, 997 F. Supp. 956, 975 (N.D. Ill. 1997); see, e.g., Dumont v. Reily Foods


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Co., 934 F.3d 35, 39 (1st Cir. 2019) (description of label and subjective interpretation thereof

sufficed: “This is not a case, after all, in which the defendant can claim that it never made the

allegedly deceptive statement. Nor is this a case in which liability turns on more precise

information concerning the ‘when’ or the ‘where.’ Rather, it turns on an assessment of the very

particularly identified ‘what’ in the product label.”).

        In all four jurisdictions, “materiality and causation are established by a showing that the

deceptive representation could reasonably be found to have caused a person to act differently from

the way he [or she] otherwise would have acted.” In re M3 Power Razor Sys. Mktg. & Sales Prac.

Litig., 270 F.R.D. 45, 60 (D. Mass. 2010).12 None of the four consumer protection statutes requires

a plaintiff to plead reliance. Carriuolo, 823 F.3d at 984 (addressing FDUTPA); M3 Power Razor

Sys., 270 F.R.D. at 60 (MCPL); Breeze v. Bayco Prod. Inc., 475 F. Supp. 3d 899, 905–06 (S.D. Ill.

2020); Stutman v Chemical Bank, 731 N.E. 2d 608, 612 (2000) (NY GBL § 349). Although

reliance is generally required to state a section 350 claim for false advertising, “under New York

law, there is a presumption of reliance when the defendant controls the relevant information and a

consumer of ordinary intelligence could not discover the true state of affairs.” Guido v. L’Oreal,

USA, Inc., 284 F.R.D. 468, 483 (C.D. Cal. 2012) (citing Leider v. Ralfe, 387 F. Supp. 2d 283, 293,

296 (S.D.N.Y. 2005)).

        The Massachusetts, Florida, New York, and Illinois Plaintiffs have stated claims for

violations of their states’ consumer protection and false advertising statutes. All four Plaintiffs



12
  See, e.g., Lewis, 530 F. Supp. 3d at 1233 (plaintiffs pled FDUTPA causation by alleging that “[h]ad they
been aware of the defect that existed . . . [they] either would have paid less for their vehicles or would not
have purchased or leased the vehicle.”); Terrazzino v. Wal-Mart Stores, Inc., 335 F. Supp. 3d 1074, 1085
(N.D. Ill. 2018) (“[T]o properly plead the element of proximate causation in a private cause of action for
deceptive advertising brought under the [ICFA], a plaintiff must allege that he was, in some manner,
deceived.”); Rodriguez v. It’s Just Lunch, Int’l, 300 F.R.D. 125, 147 (S.D.N.Y. 2014) (“To satisfy the
causation requirement [of section 349], nothing more is required than that a plaintiff suffer a loss because
of defendants’ deceptive act.”)).

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identify the products they bought and the date of purchase, and detail either the specific

representations they reviewed or the category of representations together with the dates and

locations thereof (e.g., the privacy representations on the packaging or a specific website). See ¶¶

11-14, 16,17. Though unnecessary, they also allege that they relied on the cited statements. See id.

Finally, each Plaintiff alleges that he would not have purchased a eufy Camera Product, or would

have paid less, had he known the truth about its actual capabilities. See id. These allegations suffice

to satisfy Rule 8 and Rule 9(b). See, e.g., Dumont, 934 F.3d at 39; Crisostomo v. New Balance

Athletics, Inc., 2022 WL 17904394, at *7 (D. Mass. Dec. 23, 2022) (plaintiff satisfied 9(b) by

identifying date of purchase, statement on packaging, why it was misleading); Terrazzino, 335 F.

Supp. 3d at 1085 (at pleading stage, allegations that deceptive conduct induced plaintiff to pay

more than product’s value and that plaintiff would not have bought the product but for the

deceptive act suffice to plead causation in support of an ICFA claim); Marty, 43 F. Supp. 3d at

1346 (FDUTPA claims stated where plaintiff “alleges that he or she has paid a premium price for

a product as a result of a defendant’s misrepresentation”); Guido, 284 F.R.D. at 483 (“[W]here

consumers allege that they paid a premium for the product based on marketing representations . ..

they have adequately alleged an injury under § [349 or] 350.”).

D.     The Court Should Uphold Plaintiffs’ Unjust Enrichment Claims

       As Plaintiffs adequately plead violations of ICFA, NY GBL, MCPL, and FDUTPA,

Defendants’ sole argument for dismissal of the unjust enrichment claim fails. See Mot. at 24.

E.     The Complaint Provides Defendants with Fair Notice of Plaintiffs’ Claims

       Defendants’ Motion tacks on the assertion that the Complaint must be dismissed in its

entirety because Plaintiffs refer to Defendants Anker Innovations, Fantasia, and Power Mobile

collectively as “Anker” or “Defendants,” which purportedly fails to provide Defendants with fair

notice of Plaintiffs’ claims as a matter of law. Mot. at 24. Defendants are wrong.


                                                  22
        As an initial matter, claims under the Wiretap Act, BIPA, NY GBL, FDUTPA, and unjust

enrichment need only be pleaded to Rule 8’s lenient notice standard. 13 Under Rule 8, “[t]here is

no ‘group pleading’ doctrine, per se, that either permits or forbids allegations against defendants

collectively; ‘group pleading’ does not violate Fed. R. Civ. P. 8 so long as the complaint provides

sufficient detail to put the defendants on notice of the claims.” Robles v. City of Chicago, 354 F.

Supp. 3d 873, 875 (N.D. Ill. 2019). A complaint “provides sufficient notice to each defendant,

despite employing a consistent ‘group pleading’ approach” where “allegations are directed at all

the defendants.” Gorgas v. Amazon.com, Inc., 2023 WL 4209489, at *3 (N.D. Ill. June 23, 2023).

In Gorgas, plaintiffs brought BIPA claims substantively identical to Plaintiffs’, including that

corporate affiliates—defined collectively as “Amazon”—captured and stored biometric data

without consent and disclosed it to third parties. Id. The court held that the plaintiffs’ references

to “defendants” met the Rule 8 standard because “the allegations are directed at all the defendants.”

Id. Plaintiffs’ Complaint, like the Gorgas complaint, alleges that all Defendants improperly

captured class members’ biometric data without permission and made the same misrepresentations

about the Camera Products’ privacy and security features to all members of the putative classes.

See ¶¶ 27-67. The allegations underlying Plaintiffs’ Wiretap Act, BIPA, NY GBL, FDUTPA, and

unjust enrichment claims thus provide Defendants with sufficient notice of Plaintiffs’ claims.

        Although Plaintiffs’ ICFA and MCPL claims may need to be pleaded with particularity,

the Complaint’s allegations are sufficient under Rule 9(b) because Plaintiffs cannot know, absent

13
   See Wilk, 2022 WL 4482842, at *5 (Rule 9(b) does not apply to [ ] BIPA allegations”); Colpitts v. Blue
Diamond Growers, 527 F. Supp. 3d 562, 577 (S.D.N.Y. 2021) (“[c]laims under GBL §§ 349 [and] 350 . . .
need only meet the bare-bones notice-pleading requirements of Rule 8(a)”); Lewis, 530 F. Supp. 3d at 1231
(“requirements of Rule 9(b) do not apply to claims under FDUTPA”); Siegel v. Shell Oil Co., 480 F. Supp.
2d 1034, 1043–44 (N.D. Ill. 2007) (lower pleading standard applies to unjust enrichment because “claim
[does not] require[] proof of an intentional misrepresentation”); B & G Crane Serv., LLC v. Duvic, 2006
WL 8434010, at *3 (M.D. La. Sept. 19, 2006) (acknowledging “the absence of a heightened pleading
standard” for Wiretap Act), report and recommendation adopted sub nom. B&G Crane Serv., LLC v. Duvic,
2006 WL 8434230 (M.D. La. Oct. 17, 2006).

                                                   23
discovery, each Defendant’s misconduct in misrepresenting their Camera Products and improperly

collecting biometric data. See e.g., Wordlaw v. Enter. Leasing Co. of Chicago, LLC, 2020 WL

7490414, at *3 (N.D. Ill. Dec. 21, 2020) (grouping pleading appropriate where plaintiff was

“unable to allege which one in particular installed and controlled the timekeeping system”);

Cunningham v. Foresters Fin. Servs., Inc., 300 F. Supp. 3d 1004, 1016 (N.D. Ind. Jan. 9, 2018)

(“Plaintiff cannot reasonably be expected to know” relationship between the corporate defendants

“at this stage of litigation”). Here, as in Wordlaw and Cunningham, Plaintiffs allege specific

misrepresentations about Defendants’ products, why those misrepresentations were false and

misleading, how Plaintiffs encountered those misrepresentations (e.g., on labels and websites), and

that Defendants are affiliates.14 See ¶¶ 17-21, 31-37. Further, each Defendant is a private wholly

owned subsidiary of a foreign corporation, and thus its internal processes are not publicly

disclosed. See id. Accordingly, Defendants “are related corporations that can most likely sort out

their involvement without significant difficulty,” Jepson, Inc. v. Makita Corp., 34 F.3d 1321, 1329

(7th Cir. 1994), and any purportedly omitted allegations can be easily identified in discovery.

        Defendants’ cases do not hold otherwise. As an initial matter, none of the cases cited in the

Motion hold that group pleading is insufficient under Rule 8 as a matter of law, and thus

Defendants do not provide any authority supporting dismissal of Plaintiffs’ Wiretap Act, NY GBL,

BIPA, FDUTPA or unjust enrichment claims. See Mot. at 24-25 (citing cases).

        Nor do Defendants’ cases support dismissing Plaintiffs’ ICFA or MCPL claims. In SEC v.

Winemaster, 529 F. Supp. 3d 880, 907 (N.D. Ill. 2021), and Jepson, 34 F.3d at 1329, the courts

held that the plaintiffs’ allegations were sufficient under Rule 8—and the Jepson plaintiffs referred


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      Anker Innovations and Fantasia’s Rule 7.1 disclosure in this action confirmed that they are affiliates,
as did Power Mobile’s Rule 7.1 disclosure in another recent case. See ECF No. 15 at 1; Corp. Discl. Stmt.,
Brady v. Anker, No. 7:18-cv-11396 (S.D.N.Y. Jan. 18, 2019), ECF No. 17. Defendants also acknowledge
that they are “alleged to be members of a corporate family.” Mot. at 25.

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to defendants collectively. See id. Defendants’ remaining cases involved plaintiffs who should

have been able to plead specific misconduct because, unlike Plaintiffs, they had direct contact with

specific defendants. See Cornielsen v. Infinium Cap. Mgmt., LLC, 916 F.3d 589, 600–01 (7th Cir.

2019) (“[p]laintiffs have no recollection of who said what, even though each [p]laintiff personally

observed which representations [each defendant] made on particular days”); Rocha v. Rudd, 826

F.3d 905, 912-13 (7th Cir. 2016) (second amended complaint identified communications from

specific defendants)15; SEC v. Kameli, 373 F. Supp. 3d 1194, 1204 (N.D. Ill. 2019) (“the SEC has

at least as much access to the investors as defendants and so has, or can gather, the needed details”).

F.        Plaintiffs Respectfully Request the Opportunity to Amend

          Should the Court dismiss any portion of the Complaint, Plaintiffs respectfully request leave

to replead pursuant to Fed. R. Civ. P. 15, under which leave to amend should be “freely given

when justice so requires” absent delay, bad faith, dilatory motive, futility, prejudice or repeated

failure to cure deficiencies. See Ferguson v. Roberts, 11 F.3d 696, 706 (7th Cir. 1993).

                                       V.    CONCLUSION

          As set forth above, the Court should deny Defendants’ Motion in its entirety.

 Dated: July 7, 2023                                 Respectfully submitted,

                                                     MILBERG COLEMAN BRYSON
                                                     PHILLIPS GROSSMAN, PLLC

                                                     /s/ Gary M. Klinger

                                                     Gary M. Klinger
                                                     227 W. Monroe Street, Suite 2100
                                                     Chicago, Illinois 60606
                                                     Telephone: 866.252.0878
                                                     gklinger@milberg.com




     15
     See Compl., Rocha v. Rudd, No. 14-cv-04857 (N.D. Ill. Nov. 20, 2014), ECF No. 37-1 (¶¶ 31, 37,
141, 144).

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 POMERANTZ LLP
 Jeremy A. Lieberman
 Brian Calandra
 600 Third Avenue, 20th Floor
 New York, New York 10016
 Telephone: (212) 661-1100
 Facsimile: (212) 661-8665
 jalieberman@pomlaw.com
 bcalandra@pomlaw.com

 Attorneys for Lead Plaintiffs and the Putative
 Classes

 LEVI & KORSINSKY, LLP
 Mark S. Reich*
 Courtney E. Maccarone*
 Gary I. Ishimoto*
 55 Broadway, 10th Floor
 New York, NY 10006
 Telephone: 212-363-7500
 Facsimile: 212-363-7171
 Email: mreich@zlk.com
 Email: cmaccarone@zlk.com
 Email: gishimoto@zlk.com

 KOZYAK TROPIN &
 THROCKMORTON LLP
 Benjamin Widlanski, Esq.
 Florida Bar No. 1010644
 bwidlanski@kttlaw.com
 Robert J. Neary, Esq.
 Florida Bar No. 81712
 rn@kttlaw.com
 2525 Ponce de Leon Blvd., 9th Floor
 Coral Gables, FL 33134
 Tel: (305) 372-1800
 Fax: (305) 372-3508

 RENNERT VOGEL
 MANDLER & RODRIGUEZ, P.A.
 Robert M. Stein, Esq.
 Florida Bar No. 93936
 rstein@rvmrlaw.com
 Daniel S. Maland, Esq.
 Florida Bar No. 114932
 dmaland@rvmrlaw.com
 100 SE 2nd Street, 29th Floor


26
 Miami, FL 33131
 Tel: (305) 423-3437
 Fax: (305) 376-6176

 TOUSLEY BRAIN STEPHENS PLLC
 Kim D. Stephens, WSBA #11984
 Jason T. Dennett, WSBA #30686
 Rebecca L. Solomon, WSBA #51520
 1200 Fifth Avenue, Suite 1700
 Seattle, WA 98101
 Telephone: (206) 682-5600
 Facsimile: (206) 682-2992
 Email: kstephens@tousley.com
 Email: jdennett@tousley.com
 Email: rsolomon@tousley.com

 Additional Counsel for Plaintiffs and the
 Putative Class




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of July, 2023, I caused a true and correct copy of the

foregoing notice to be filed with the Clerk of the Court for the Northern District of Illinois via

the Court’s CM/ECF system, which will send notification of such filing to the counsel of record

in the above-captioned matters.



                                               /s/ Gary M. Klinger
                                               Gary M. Klinger
